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                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled JOINT STIPULATION ALLOWING PRE-
      PETITION CLAIM OF STUBBS ALDERTON & MARKILES, LLP AT A REDUCED AMOUNT IN
  4   ACCORDANCE WITH COURT APPROVED CLAIMS PROTOCOL will be served or was served (a) on
      the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
  5   below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On December 28, 2017, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail
  8   Notice List to receive NEF transmission at the email addresses stated below:

  9            Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
               Ron Bender rb@lnbyb.com
 10            Cathrine M Castaldi ccastaldi@brownrudnick.com
               Russell Clementson russell.clementson@usdoj.gov
 11            Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
               Matthew A Gold courts@argopartners.net
 12            Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
               Jeffrey A Krieger jkrieger@ggfirm.com,
 13             kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
                usker.com
 14            Samuel R Maizel samuel.maizel@dentons.com,
                alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons
 15             .com;kathryn.howard@dentons.com
               Krikor J Meshefejian kjm@lnbrb.com
 16            Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
               S Margaux Ross margaux.ross@usdoj.gov
 17            United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
               Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com
 18
 19   2. SERVED BY UNITED STATES MAIL: On December 28, 2017, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 20   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 21
      Hon. Martin R. Barash
 22   United States Bankruptcy Court
      21041 Burbank Boulevard, Suite 342
 23   Woodland Hills, CA 91367
 24                                                                           Service information continued on attached page
 25
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
 26   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on December 28, 2017, I served the following persons and/or entities by personal delivery, overnight
 27   mail service, or (for those who consented in writing to such service method), by facsimile transmission
      and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
 28   overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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  1
      I declare under penalty of perjury under the laws of the United States of America that the foregoing is
  2   true and correct.

  3    December 28, 2017                     Lourdes Cruz                                /s/ Lourdes Cruz
       Date                                  Type Name                                   Signature
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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
